    Case 1:10-cv-00025-LPS Document 21 Filed 03/14/11 Page 1 of 1 PageID #: 81
      Case 1:10-cv-00025-LPS Document 20              Filed 03/14/11     Page 1 of 1 PagelD #: 80




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

       ALLAN FRANK,

                      Plaintiff,
              v.                                                                     L?f
                                                          Case No.: 1:10-cv-00025-.f.HiL
       PHILLIPS & COHEN ASSOCIATES,
       LTD.,

                      Defendant,

                                     STIPULATION TO DISMISS

       TO THE CLERK:

              Pursuant to Rule 41 (a)(I)(A)(ii), counsel for all parties hereto stipulate to the

       dismissal of the captioned matter with prejudice without cost to either party.




              lSI Art C. Aranilla                            lSI W. Christopher Componovo
              Art C. Aranilla, Esquire                       W. Chirstopher Componovo, Esquire
              Attorney ID: 4516                              Attorney ID: 3234
              Attorney for Defendant,                        Attorney for the Plaintiff


              Date: March 14, 2011                           Date: March 14,2011


                                           BY THE COURT:




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